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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA, )
Vv. No. 21-064 (CKK)
TOMMY ALLAN, )
Defendant.
)
ORDER

Upon consideration of the Unopposed Motion to Delay Self-Surrender, it is on this_
Q ¢ day of. f bue.9023,
ORDERED that said motion be, and hereby is, GRANTED.
IT IS FURTHER ORDERED that the current order to self-surrender issued to Tommy
Allan ordering him to report to MDC Los Angeles on April 3, 2023, be delayed until no sooner

than April 30, 2023.

Dated / , day of. Coben, 2023,

Mb bba-Keey

Honorable Collen Kollar-Kotelly
United States District Judge
